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                                                                                         EFILED IN OFFICE
                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                      20SC-1654-B
                      IN THE STATE COURT OF FORSYTH COUNTY                         Judge T. Russell McClelland
                                                                                     DEC 29, 2020 09:25 AM
                                     STATE OF GEORGIA
                                                                                                    Greg G. Men. Clerk
                                                                                                Forsyth County, Georgia
TRENESA TATE-THOMAS,                         )
                                             )
                Plaintiff,                   )
                                             )        CIVIL ACTION FILE NO.
V.                                           )
                                             )
WAL-MART STORES EAST,LP,                     )        JURY TRIAL DEMANDED
                                             )
                Defendant.                   )
                                             )

                        PLAINTIFF'S COMPLAINT FOR-DAMAGES

       COMES NOW TRENESA TATE-THOMAS (hereinafter "Plaintiff') and file this

Complaint against Defendant WAL-MART STORES EAST, LP (hereinafter "Defendant") and

shows this Court as follows:

                                  JURISDICTIONAL STATEMENT

                                                 1.

       Plaintiffis a resident of Clayton County, Georgia, and submits to the jurisdiction and venue

ofthis Court.

                                                 2.

       Defendant is an foreign limited partnership, authorized to do business in the State of

Georgia by virtue of its registration with the Georgia Secretary of State, and may be served with

process via its registered agent: The Corporation Company, 112 North Main Street, Cumming,

Forsyth County, Georgia 30040.

                                                 3.

       Defendant is subject to the jurisdiction of this Court.
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                                                        4.

         Venue is proper in this Court as to Defendant.

                                                        5.

        Subject matterjurisdiction is proper in this Court as to Defendant.

                                           FACTUAL STATEMENT

                                                        6.

        On November 15,2018,Plaintiff was an invitee at the Wal-Mart retail store located at 7050

GA-85,Riverdale, Georgia 30274(hereinafter, the "Store"))

                                                        7.

         While looking for a shopping cart within the Store,Plaintiffslipped on a piece ofplastic from

a broken hanger on the floor and fell to the floor thereby causing serious injury.

                                                        8.

        Defendant's employees did not warn Plaintiff, nor take any action to keep the area free of

hazards or place warning signs near the hazard

                                                        9.

        At all times relevant to this litigation, Defendant had exclusive ownership, possession,and

control over the Store and its employees.

                                                       10.

        As a result of the impact of falling on the floor, Plaintiff suffers from injuries to her hip,

knees, and other parts of her body.




 0.C.G.A.§ 9-3-33 provides that the statute oflimitations for personal injury claims is two(2)years from the date of
the injury. However,the Georgia Supreme Court's Third Order Declaring Statewide Judicial Emergency,entered June
12,2020,suspended all deadlines, statutes ofrepose, and statutes of limitations,"stopping the clock" on all statutes
of limitations from March 14, 2020, to July 13, 2020, a period of 122 days. Therefore, the applicable statute of
limitations in this case expires on March 17,2021.
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                                COUNT ONE — PREMISES LIABILITY

                                                11.

       Plaintiff repeats and realleges paragraphs''
                                                  1 through '10' as iffully set forth herein.

                                                12.

       Plaintiff was an invitee upon the premises ofthe Store at the time she slipped on the broken

piece of plastic and fell on the floor.

                                                13.

       Defendant owed a nondelegable duty to reasonable care in keep the premises safe for

invitees such as Plaintiff.

                                                14.

       Defendant was negligent in that its employees failed to properly and safely keep the floor

clear of hazards or adequately warn invitees of such hazard, creating a danger and hazard for

customers,thereby failing to keep the premises safe for invitees.

                                               15. _

       Defendant's negligence was the proximate cause ofPlaintiff's injuries.

                               COUNT TWO — VICARIOUS LIABILITY

                                               16.

       Plaintiffrepeats and realleges paragraphs '1' through'15' as iffully set forth herein.

                                               17.

       At all times relevant to this action,the individuals responsible for cleaning and maintaining

the floors where Plaintiffslipped and fell were employed by Defendant and were acting within the

scope oftheir employment.
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                                                is.

       Defendant is responsible for the conduct of these individuals under the doctrines of

respondeat superior, agency,or apparent agency.

                    COUNT THREE —NEGLIGENT TRAINING AND SUPERVISION

                                               19.

       Plaintiffrepeats and realleges paragraphs '1' through '18' as iffully set forth herein.

                                               20.

       Defendant was negligent in failing to adopt appropriate policies and procedures to make

sure that floors are safe, dry, and clean,and to place warning for hazards in a safe manner.

                                               21.

       Defendant was negligent in training and supervising its staff.

                                               22.

        As a result of Defendant's negligence in training and supervising its employees, Plaintiff

was injured at the Store. _

       TRIAL BY JURY DEMANDED ON ALL COUNTS.

        WHEREFORE,Plaintiffrespectfully prays:

           a. That Summons issue requiring the above-named Defendant to answer each

                allegation ofthis Complaint within the time provided by law;

            b. That Plaintiff have judgment against Defendant in such an amount to compensate

               Plaintifffor Plaintiff's past,present,and future injuries and damages resulting from

               the subject incident and Plaintiff's special damages;

           c. That all costs be cast against Defendant; and,

           d. For such other reliefas this Court deemsjust and proper.
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       Respectfully submitted,this the    day of December, 020.


                                   BY:   BRO
                                            A
                                          auriN
                                                RICAior   GROUP,P.C.


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                  IN THE STATE COURT OF FORSYTH COUNTY
                             STATE OF GEORGIA

TRENESA TATE-THOMAS,                                       Civil Action File No.
                                                           20SC-1654-B
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                              /

                            ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP, and makes this

Answer to Plaintiff's Complaint as follows:

                                   FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                  SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                  THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.


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                                FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Plaintiff's claims are barred by the applicable statutes of limitation.

                               SEVENTH DEFENSE

      Plaintiff's claims are barred by laches.

                                EIGHTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint as

follows:

                                          1.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                          2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

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                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint. Jurisdiction is now proper in the United States District Court, Northern

District of Georgia, Gainesville Division.

                                         4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint. Venue is now proper in the United States District Court, Northern

District of Georgia, Gainesville Division.

                                         5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint. Jurisdiction is now proper in the United States District Court, Northern

District of Georgia, Gainesville Division.

                                         6.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 6 of Plaintiff's Complaint.

                                         7.

      Defendant denies the allegations contained in paragraph 7 of Plaintiff's

Complaint.

                                         8.

      Defendant denies the allegations contained in paragraph 8 of Plaintiff's

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Complaint.

                                        9.

      Defendant admits only that it operated the subject store. Defendant denies the

remaining allegations contained in paragraph 9 of Plaintiff's Complaint.

                                        10.

      Defendant denies the allegations contained in paragraph 10 of Plaintiff's

Complaint.

                                        11.

      Defendant repeats and realleges its answers to paragraphs 1 through 10 as if

fully set forth herein.

                                        12.

      Defendant denies the allegations contained in paragraph 12 of Plaintiff's

Complaint.

                                        13.

      Defendant denies the allegations contained in paragraph 13 of Plaintiff's

Complaint. The applicable statute and case law speak for themselves and have been

omitted.

                                        14.

      Defendant denies the allegations contained in paragraph 14 of Plaintiff's

Complaint.

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                                       15.

      Defendant denies the allegations contained in paragraph 15 of Plaintiff's

Complaint.

                                       16.

      Defendant repeats and realleges its answers to paragraphs 1 through 15 as if

fully set forth herein.

                                       17.

      Defendant denies the allegations contained in paragraph 17 of Plaintiff's

Complaint.

                                       18.

      Defendant denies the allegations contained in paragraph 18 of Plaintiff's

Complaint.

                                       19.

      Defendant repeats and realleges its answers to paragraphs 1 through 18 as if

fully set forth herein.



                                       20.

      Defendant denies the allegations contained in paragraph 20 of Plaintiff's

Complaint.

                                       21.

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       Defendant denies the allegations contained in paragraph 21 of Plaintiff's

Complaint.

                                         22.

       Defendant denies the allegations contained in paragraph 22 of Plaintiff's

Complaint.

                                         23.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         24.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a., b.,

c., and d., thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.




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                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088



                                    /s/ Mark L. Pickett
                                   Mark L. Pickett
                                   Georgia Bar No. 578190
                                   Attorneys for Defendant
                                   WAL-MART STORES EAST, LP


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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and served

upon opposing counsel via Peach Court E-File.

      This the 11th day of February, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
                                    WAL-MART STORES EAST, LP

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